Case: 1:17-cv-06260 Document #: 795 Filed: 11/13/19 Page 1 of 1 PageID #:6098

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                               Eastern Division

State Of Illinois
                            Plaintiff,
v.                                                 Case No.: 1:17−cv−06260
                                                   Honorable Robert M. Dow Jr.
City Of Chicago
                            Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, November 13, 2019:


       MINUTE entry before the Honorable Robert M. Dow, Jr: Settlement conference
held on 11/13/2019. Mailed notice(cdh, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
